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 5   Attorneys for Defendant Twilio Inc.
 6
                                 UNITED STATES DISTRICT COURT
 7
                             NORTHERN DISTRICT OF CALIFORNIA
 8
                                    SAN FRANCISCO DIVISION
 9
10                                                )   Case No.: 3:24-cv-00681-LB
     Missed Call, LLC,                            )
11                                                )   STIPULATION AND [PROPOSED]
                    Plaintiff,                    )   ORDER TO EXTEND DEADLINE TO
12          vs.                                   )   FILE RESPONSIVE PLEADING TO
                                                  )   COMPLAINT
13   Twilio Inc.,                                 )
                                                  )
14                  Defendant.                    )
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                                                  1               CASE NO. 3:24-CV-00681-LB
                                     STIPULATION TO EXTEND DEADLINE TO RESPOND TO COMPLAINT
               Case 3:24-cv-00681-LB Document 19 Filed 02/06/24 Page 2 of 3




 1          Plaintiff Missed Call, LLC (“Missed Call”) and Defendant Twilio Inc. (“Twilio”)

 2   (collectively, the “Parties”) hereby stipulated to extend the time for Twilio to respond to the

 3   Complaint (ECF No. 1) of Plaintiff Missed Call to February 22, 2024.

 4
 5    February 6, 2024                        Respectfully Submitted,
 6
                                              By: /s/ Chris Schmidt
 7                                            Chris R. Schmidt

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                                              Attorneys for Defendant Twilio Inc.
14
15                                           Respectfully Submitted,
16
                                             By: /s/ William P. Ramey, III
17                                           William P. Ramey, III

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21                                           Attorneys for Plaintiff Missed Call, LLC
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                                                  2               CASE NO. 3:24-CV-00681-LB
                                     STIPULATION TO EXTEND DEADLINE TO RESPOND TO COMPLAINT
               Case 3:24-cv-00681-LB Document 19 Filed 02/06/24 Page 3 of 3




 1                                              ORDER

 2
 3   IT IS HEREBY ORDERED that, pursuant to the parties stipulation, Defendant’s deadline to file

 4   their responsive pleading to the Complaint is extended to February 22, 2024.

 5
 6   Date February ___, 2024                                    ___________________________

 7                                                              Honorable Judge Laurel Beeler

 8                                                              United States Magistrate Judge

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                                                  3               CASE NO. 3:24-CV-00681-LB
                                     STIPULATION TO EXTEND DEADLINE TO RESPOND TO COMPLAINT
